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                                      UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                             TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                         CASE NO: 8:08-cr-12-T-30MSS

ELISEO ARROYO SOLIMAN
_______________________________/


                                                ORDER

           THIS CAUSE comes before the Court upon Defendant’s Motion for Copy of Plea

Agreement (Dkt. #93). A copy of the Defendant’s 14-page Plea Agreement (Dkt. #22) may

be obtained from the Clerk’s office at a cost of fifty (50) cents per page. Defendant may also

obtain a copy of the Plea Agreement from his former defense counsel.

           It is therefore ORDERED AND ADJUDGED that Defendant’s Motion for Copy of

Plea Agreement (Dkt. #93) is DENIED.

           DONE and ORDERED in Tampa, Florida on February 12, 2009.




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Counsel/Parties of Record
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